           Case 18-14948-JDW                               Doc 10     Filed 12/21/18 Entered 12/21/18 12:04:27                       Desc Main
                                                                                                                                            12/21/18 12:01PM
                                                                      Document     Page 1 of 5
 Fill in this information to identify your case:
 Debtor 1               Jamie W. Wren
                              Full Name (First, Middle, Last)
 Debtor 2
 (Spouse, if filing)          Full Name (First, Middle, Last)
                                                                     NORTHERN DISTRICT OF
 United States Bankruptcy Court for the                                  MISSISSIPPI                                  Check if this is an amended plan, and
                                                                                                                      list below the sections of the plan that
 Case number:                 18-14948                                                                                have been changed.
 (If known)                                                                                                           2.2



Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                            12/17


 Part 1:       Notices

To Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                           debts must be provided for in this plan.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                           to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                           (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                           is filed. See Bankruptcy Rule 3015.

                           The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                           provision will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                   Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2           Debtor(s) will make payments to the trustee as follows:

Debtor shall pay $79.00 ( monthly,               semi-monthly,      weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by
the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                         ITS Technologies
                         8205 S. Cass Ave, Ste 115
                         Darian, IL 60561



APPENDIX D                                                                     Chapter 13 Plan                                                 Page 1
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           Case 18-14948-JDW                               Doc 10      Filed 12/21/18 Entered 12/21/18 12:04:27                      Desc Main
                                                                                                                                            12/21/18 12:01PM
                                                                       Document     Page 2 of 5
 Debtor                Jamie W. Wren                                                                   Case number      18-14948

Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3            Income tax returns/refunds.

               Check all that apply
                        Debtor(s) will retain any exempt income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:       Treatment of Secured Claims

3.1            Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

               Check all that apply.
                 None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

      3.1(a)
        Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11 U.S.C. §
        1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of
        claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed herein.
 -NONE- Mtg pmts to         21st Mortgage Corporation
 Beginning 1/12019                                     @             $1,146.35 Plan        Direct.xx       Includes escrow Yes No

 Mtg pmts to Sanders & Stanton beginning 1/2019                      @$220.96             direct           does not include escrow

 3.1(b)       Non-Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11
              U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with
              the proof of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed
              herein.
 Property -NONE-
           address:
 Mtg pmts to
 Beginning month                            @                              Plan            Direct.          Includes escrow Yes No

 Property -NONE- Mtg arrears to                                                 Through        month

 3.1(c)              Mortgage claims to be paid in full over the plan term: Absent an objection by a party in interest, the plan will be amended
                     consistent with the proof of claim filed by the mortgage creditor.

 Creditor:        -NONE-                                   Approx. amt. due:                            Int.
                                                                                                        Rate*:
 Property Address:
 Principal Balance to be paid with interest at the rate above:
 (as stated in Part 2 of the Mortgage Proof of Claim Attachment)
 Portion of claim to be paid without interest: $
 (Equal to Total Debt less Principal Balance)

 Special claim for taxes/insurance: $                        -NONE- /month, beginning                      month .
 (as stated in Part 4 of the Mortgage Proof of Claim Attachment)
                                                                                  Mississippi Chapter 13 Plan                                  Page 2
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             Case 18-14948-JDW                               Doc 10         Filed 12/21/18 Entered 12/21/18 12:04:27                         Desc Main
                                                                                                                                                    12/21/18 12:01PM
                                                                            Document     Page 3 of 5
   Debtor                Jamie W. Wren                                                                   Case number        18-14948


* Unless otherwise ordered by the court, the interest rate shall be the curent Till rate in this District
  Insert additional claims as needed.

  3.2          Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                            None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                            Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
                            amounts to be distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below
                            at the lesser of any value set forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on
                            or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

                            The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                            of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                            treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                            creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.


   Name of creditor                          Estimated amount of                        Collateral                      Value of          Amount of         Interest
                                             creditor's total claim #                                                  collateral      secured claim         rate*

   Title Max Of                                                                Yamaha Roadstar
   Mississippi, Inc.                                        $2,500.00          Motorcycle                       $2,500.00               $2,500.00            6.75%

   Name of creditor                          Estimated amount of                        Collateral                      Value of           Amount of         Interest
                                             creditor's total claim #                                                  collateral       secured claim         rate*

   Tower Loan Of Olive                                                         Loveseat ($150), Bedroom
   Branch                                                  $5,001.00           Suite ($1,000)                  $1,150.00               $1,150.00              6.75%

  Insert additional claims as needed.

  #For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:

         Name of creditor                                              Collateral                    Amount per month                        Beginning
   -NONE-                                                                                                                           month

  * Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District

   For vehicles identified in § 3.2: The current mileage is


   3.3         Secured claims excluded from 11 U.S.C. § 506.

        Check one.
                            None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

  3.4          Motion to avoid lien pursuant to 11 U.S.C. § 522.

  Check one.
                            None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                            The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                            which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or
                            security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                            order confirming the plan unless the creditor files an objection on or before the objection deadline announced in Part 9 of the
                            Notice of Chapter 13 Bankruptcy Case (Official Form 309I). Debtor(s) hereby move(s) the court to find the amount of the
                            judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount,
                            if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11

                                                                                       Mississippi Chapter 13 Plan                                     Page 3
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           Case 18-14948-JDW                               Doc 10       Filed 12/21/18 Entered 12/21/18 12:04:27                    Desc Main
                                                                                                                                           12/21/18 12:01PM
                                                                        Document     Page 4 of 5
 Debtor                Jamie W. Wren                                                              Case number     18-14948

                 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each
                 lien.
                                                                                                                            Lien identification
                                                                                                                              (county, court,
                                                                                             Secured
                                                                    Lien amount to be                                      judgment date, date
   Name of creditor              Property subject to lien                                    amount       Type of lien
                                                                         avoided                                             of lien recording,
                                                                                            remaining
                                                                                                                           county, court, book
                                                                                                                            and page number)
 Tower Loan Of         Home gym ($50), Riding Mower -                          $390.00            0.00 Non-PMSI           UCC
 Olive Branch          inoperable, pushmower ($50),
                       weedeater ($10), Toolbox ($5),
                       Socket and wrench sets ($30), 50
                       inch Emerson - inoperable, 32 inch
                       vizio ($50), 32 inch Westinghouse
                       ($50), DVD player and DVDs ($55),
                       Laptop ($50),

Insert additional claims as needed.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.


 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

                  No look fee:          0.00

                   Total attorney fee charged:                       $3,400.00

                   Attorney fee previously paid:                     $0.00

                   Attorney fee to be paid in plan per
                   confirmation order:                               $3,400.00

                  Hourly fee: $             . (Subject to approval of Fee Application.)

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5          Domestic support obligations.

                          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:     Treatment of Nonpriority Unsecured Claims
5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.

                                                                                 Mississippi Chapter 13 Plan                                  Page 4
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           Case 18-14948-JDW                               Doc 10    Filed 12/21/18 Entered 12/21/18 12:04:27                    Desc Main
                                                                                                                                        12/21/18 12:01PM
                                                                     Document     Page 5 of 5
 Debtor                Jamie W. Wren                                                               Case number   18-14948

                The sum of $
                   6 % of the total amount of these claims, an estimated payment of $ 1,580.00
                The funds remaining after disbursements have been made to all other creditors provided for in this plan.

                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $. Regardless
                of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Other separately classified nonpriority unsecured claims (special claimants). Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

 7.1         Property of the estate will vest in the debtor(s) upon entry of discharge.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signatures:

9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X /s/ Jamie W. Wren                                                     X
     Jamie W. Wren                                                             Signature of Debtor 2
     Signature of Debtor 1

       Executed on            December 18, 2018                                      Executed on

       770 Gardner Road
       Address                                                                Address
       Red Banks MS 38661-0000
       City, State, and Zip Code                                              City, State, and Zip Code

       Telephone Number                                                       Telephone Number


 X     /s/ Karen B. Schneller                                                 Date     December 18, 2018
       Karen B. Schneller 6558
       Signature of Attorney for Debtor(s)
       126 North Spring Street
       Post Office Box 417
       Holly Springs, MS 38635
       Address, City, State, and Zip Code
       662-252-3224                                                           6558 MS
       Telephone Number                                                       MS Bar Number
       karen.schneller@gmail.com
       Email Address




                                                                             Mississippi Chapter 13 Plan                                  Page 5
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